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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ELOISE LOCKHART,                           )
                                           )
                    Plaintiff,             )   Case No. 13 cv 09323
            v.                             )
                                           )   Judge Thomas M. Durkin
HSBC FINANCE CORPORATION, et al.,          )
                                           )
                    Defendants.            )

                                  NOTICE OF ERRATA

       PLEASE TAKE NOTICE that Defendants’ Response to “Plaintiff’s 59(e) or 60(b)
Motion for Relief” (Dkt. # 80) (“Response”) was mistakenly identified as being filed on
behalf of only Defendants HSBC Finance Corporation, HSBC Mortgage Services, Inc.,
Household Finance Corporation III, Mortgage Electronic Registration Systems, Inc., and
MERSCORP Holdings, Inc. However, in addition to the above named defendants, the
Response is also being filed on behalf Defendants Pilgrim Christakis LLC, f/k/a Grady
Pilgrim Christakis Bell LLP, and Jeffrey Pilgrim.

                                        Respectfully submitted,

                                        HSBC FINANCE CORPORATION,
                                        HSBC MORTGAGE SERVICES, INC., HOUSEHOLD
                                        FINANCE CORPORATION III, MERSCORP
                                        HOLDINGS, INC., MORTGAGE ELECTRONIC
                                        REGISTRATION SYSTEMS, INC., PILGRIM
                                        CHRISTAKIS LLP, and JEFFREY PILGRIM

                                        By: /s/Sulejman F. Dizdarevic___________________
                                            One of their attorneys

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                                 CERTIFICATE OF SERVICE

       Sulejman F. Dizdarevic, an attorney, certifies that on September 19, 2014, he
electronically filed the above Notice of Errata with the Clerk of the Court by using the
CM/ECF system, which will send a notice of electronic filing to counsel of record.


                                                   /s/ Sulejman F. Dizdarevic




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